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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 JOHNNA BURDS and JOSHUA SMITH,                    CIVIL ACTION NO. 19-1254
          Plaintiffs
                                                   SECTION: R(5)
 VERSUS
                                                   JUDGE VANCE
 JAVIER FLORES, JAVIER FLORES
 TRANSPORTATION, LLC, SOUTHERN                     MAGISTRATE JUDGE NORTH
 COUNTY MUTUAL INSURANCE
 COMPANY, NORTHLAND INSURANCE
 COMPANY, ANTHONY HOOKFIN, and
 SAFEWAY INSURANCE COMPANY OF
 LOUISIANA,
          Defendants


                JOINT MOTION TO DISMISS WITH PREJUDICE

       NOW INTO COURT, through undersigned counsel, come cross-plaintiff,

Anthony Hookfin, and cross-defendants, Javier Flores, Javier Flores Transportation, LLC,

and Southern County Mutual Insurance Company, and respectfully submit to this

Honorable Court that all causes of action asserted by Anthony Hookfin in his Cross-Claim

against cross-defendants have been settled and compromised in their entirety.

       WHEREFORE, cross-plaintiff, Anthony Hookfin, respectfully requests that all

claims asserted in his Cross-Claim against cross-defendants, Javier Flores, Javier Flores

Transportation, LLC, and Southern County Mutual Insurance Company, be dismissed, with

prejudice, and with each party to bear their own respective costs.
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                             Respectfully submitted,

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                             ATTORNEYS FOR CROSS-PLAINTIFF,
                             ANTHONY HOOKFIN

                             - And -

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                       BY:       /s/ Morgan J. Wells, Jr.
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                             ATTORNEYS FOR CROSS-DEFENDANTS,
                             JAVIER FLORES, JAVIER FLORES
                             TRANSPORTATION, LLC, AND
                             SOUTHERN COUNTY MUTUAL
                             INSURANCE COMPANY




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of April, 2019, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, which will send a notice of electronic

filing to all counsel registered for electronic service. I further certify that I have served a

copy of the foregoing pleading on all parties to this proceeding not registered for electronic

service, by e-mailing, faxing, and/or mailing the same by United States Mail, properly

addressed and postage prepaid.


                                                    /s/ Morgan J. Wells, Jr.




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